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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA                      )      Criminal Action No. 3:04-cr-00092-7
                                              )
v.                                            )      § 2255 FINAL ORDER
                                              )
DIIJON TIMMONS                                )      By: Hon. Norman K. Moon
                                              )      United States District Judge

         In accordance with the accompanying Memorandum Opinion, it is hereby ORDERED

and ADJUDGED that the United States' motion to dismiss (Dkt. No. 357) is GRANTED and

Timmons' motion to vacate, set aside, or correct sentence, pursuant to 28 U.S.C. § 2255 (Dkt No.

320), is hereby DISMISSED. This action shall be STRICKEN from the active docket of the

court.

         Further, finding that Timmons has failed to make a substantial showing of the denial of a

constitutional right as required by 28 U.S.C. § 2253(c)(1), a Certificate of Appealability is

DENIED.

         The Clerk of the Court is directed to send copies of this order and the accompanying

memorandum opinion to the parties.
                       13th
         ENTER: This ____________ day of June, 2011.
